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NOTICE OF APPEARANCE IN A CRIMINAL CASE

 

CLERK’S OFFICE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
WASHINGTON, D.C. 20001

UNITED STATES OF AMERICA

vs. Criminal Number 1: 21-cr-670

 

Stephen K. Bannon

(Defendant)

TO: ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT | APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.

| AM APPEARING IN THIS ACTION AS: (Please check one)

 

CJA [a] RETAINED FEDERAL PUBLIC DEFENDER

 

(Signature)

PLEASE PRINT THE FOLLOWING INFORMATION:

David |. Schoen; 391408

(Attorney & Bar ID Number)
David |. Schoen, Attorney at Law

(Firm Name)

2800 Zelda Road, Suite 100-6

(Street Address)

Montgomery, Alabama_ 36106

(City) (State) (Zip)

334-395-6611

(Telephone Number)

 

 

 

 

 
